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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0635V
                                          UNPUBLISHED



    PATRICIA SLUGO,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: January 31, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Decision Awarding Damages; Pain
    HUMAN SERVICES,                                             and Suffering; Influenza (Flu)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)




Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

      On April 30, 2019, Patricia Slugo filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination she received on
September 26, 2017. Petition at 1. The case was assigned to the Special Processing Unit


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all Section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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of the Office of Special Masters. Because the parties could not informally resolve the
issue of damages, they were ordered to file briefs setting forth their respective arguments
and were notified that I would resolve this dispute via an expedited “Motions Day” hearing,
which ultimately took place on January 28, 2022

      Petitioner seeks an award of $110,000.00 in compensation for Petitioner’s actual
pain and suffering. Respondent recommends an award of $80,000.00.

        After listening to the arguments of both sides, I issued an oral ruling on damages
constituting my findings of fact and conclusions of law, pursuant to Section 12(d)(3)(A),
at the conclusion of the January 28, 2022 hearing. An official recording of the proceeding
was taken by a court reporter, although a transcript has not yet been filed in this matter. I
hereby fully adopt and incorporate that oral ruling as officially recorded. As discussed
during my oral ruling, in another recent decision I discussed at length the legal standard
to be considered in determining damages and prior SIRVA compensation within SPU. I
fully adopt and hereby incorporate my prior discussion in Sections II and III of Winkle v.
Sec’y Health & Human Servs., No. 20-0485V, 2022 WL 221643, at *2-4 (Fed. Cl. Spec.
Mstr. Jan. 11, 2022) to the instant ruling and decision. Additionally, the official recording
of my oral ruling includes my discussion of various comparable cases as well as specific
facts relating to Petitioner’s medical history and experience that further informed my
decision awarding damages herein.

      Based on my consideration of the complete record as a whole and for the reasons
discussed in my oral ruling, pursuant to Section 12(d)(3)(A), I find that $108,000.00
represents a fair and appropriate amount of compensation for Petitioner’s actual
pain and suffering. 3 I also find that Petitioner is entitled to $900.00 in actual
unreimbursable expenses and $901.42 in lost wages.

       Accordingly, I award Petitioner a lump sum payment of $109,801.42 in the form
of a check payable to Petitioner. This amount represents compensation for all damages
that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 4

3Since this amount is being awarded for actual, rather than projected, pain and suffering, no reduction to
net present value is required. See Section 15(f)(4)(A); Childers v. Sec’y of Health & Human Servs., No. 96-
0194V, 1999 WL 159844, at *1 (Fed. Cl. Spec. Mstr. Mar. 5, 1999) (citing Youngblood v. Sec’y of Health &
Human Servs., 32 F.3d 552 (Fed. Cir. 1994)).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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IT IS SO ORDERED.
                            s/Brian H. Corcoran
                            Brian H. Corcoran
                            Chief Special Master




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